       Case 1:18-cv-00061-TFM-MU Document 105 Filed 11/26/18 Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA


JANE BROWN, et al.,

        Plaintiffs,                                CIVIL ACTION NO: 1:18-CV-00061-TM-MU
vs.

FAIRHOPE YACHT CLUB

        Defendant.

    ANSWER AND DEFENSES OF ROBERT AND LENNARD LUITEN TO COUNTER-
    CLAIMS SET FORTH IN DEFENDANT FAIRHOPE YACHT CLUB’S ANSWER TO
    THE COMPLAINT OF JANE BROWN AND CROSS CLAIMS AGAINST ROBERT
                      LUITEN AND LENNARD LUITEN

        COME NOW, Plaintiffs Robert Luiten and Lennard Luiten (“Plaintiffs”) and submit their

Answer and Defenses in response to the counter-claims asserted against them by Defendant

Fairhope Yacht Club (“FYC”) in its Answer to the Complaint of Jane Brown and Cross Claims

Against Robert Luiten and Lennard Luiten [Doc. # 94].1 In support, Plaintiffs state the following:

                                          FIRST DEFENSE

        FYC has failed to state a cause of action for which relief can be granted, and, therefore, the

counter-claims asserted in Document # 94 should be dismissed pursuant to Federal Rule of Civil

Procedure 12(b)(6).

                                         SECOND DEFENSE

        Subject to and without waiving any of the defenses set forth herein, Plaintiffs answer the

specific allegations asserted against them in the section of Document # 94 designated “Fairhope



1
  FYC refers to the allegations it asserts against Plaintiffs as “cross claims.” However, “cross-claims are
filed against co-parties and not against adverse parties. Cross-claims are litigated by parties on the same
side of the main litigation; counterclaims are litigated between opposing parties to the principal action.”
Stahl v. Ohio River Co., 424 F.2d 52, 55 (3d Cir. 1970). Therefore, FYC’s “cross claims” are referred to
herein as “counter-claims.”
      Case 1:18-cv-00061-TFM-MU Document 105 Filed 11/26/18 Page 2 of 6



Yacht Club’s Cross Claims Against Robert Luiten and Lennard Luiten,” beginning on page 3 and

ending on page 6, referred to herein as FYC’s Counter-Complaint. Plaintiffs respond to these

allegations with each of the following numbered and unnumbered paragraphs corresponding

thereto. All allegations not expressly admitted are denied.

                      FAIRHOPE YACHT CLUB’S CROSS CLAIMS
                   AGAINST ROBERT LUITEN AND LENNARD LUITEN
                                  (“FYC’s Counter-Complaint”)
       1.      Admitted.

       2.      Admitted.

       3.      Admitted.

       4.      Plaintiffs admit that if the Court denies FYC’s pending motion to dismiss Plaintiff

Jane Brown’s claims for lack of subject matter jurisdiction [Doc. # 64], it will have jurisdiction

over the claims asserted by Mrs. Jane Brown in her Complaint [Doc. # 1]. The remainder of the

allegations set forth in Paragraph 4 of FYC’s Counter-Complaint constitute legal conclusions to

which no response is required. To the extent a response is required, those remaining allegations

are denied.

       5.      Plaintiffs admit that Robert Luiten owned a recreational sailing vessel of

approximately 23.33 feet, which sailed in the 2015 Dauphin Island Race on the navigable waters

of Mobile Bay.

       6.      Denied as stated. Plaintiffs admit that on April 25, 2015, Lennard Luiten acted as

the skipper of the RAZR during the 2015 Dauphin Island Race.

       7.      The allegations set forth in Paragraph 7 of FYC’s Counter-Complaint constitute

legal conclusions to which no response is required. To the extent a response is required, those

allegations are denied.


                                                 2
      Case 1:18-cv-00061-TFM-MU Document 105 Filed 11/26/18 Page 3 of 6



       8.      Admitted.

       9.      Admitted.

       10.     Plaintiffs admit that as the RAZR and her crew sailed toward the Mobile Yacht

Club after crossing the finish line, a severe storm struck the vessel and prevented the crew from

lowering the vessel’s sails. Shortly thereafter, the vessel capsized, took on water and sank. The

vessel’s occupants struggled in the water, but eventually J.C. Brown and Adam Clark drowned.

Robert and Lennard Luiten witnessed these events and thereafter continued to struggle for their

lives until rescued. Both Robert and Lennard Luiten suffered damages from this experience as

described in more detail in their Complaint [Doc. # 30 at 1-11]. Plaintiffs also admit that no one

aboard the RAZR was wearing a life jacket during the race. All remaining allegations set forth in

Paragraph 10 of FYC’s Counter-Complaint are denied.

       11.     Plaintiffs admit that Jane Brown has asserted claims against FYC which arose out

of the negligent, grossly negligent, reckless and wanton manner in which FYC planned and

conducted the 2015 Dauphin Island Race and, thereby, caused the death of her husband, Jimmie

Charles (“J.C.”) Brown. All remaining allegations set forth in Paragraph 11 of FYC’s Counter-

Complaint are denied.

       12.     Denied.

       13.     The allegations set forth in Paragraph 13 of FYC’s Counter-Complaint constitute

legal conclusions, which require no response. To the extent a response is required, those allegations

are denied.

       14.     Denied.

       15.     Denied.




                                                 3
      Case 1:18-cv-00061-TFM-MU Document 105 Filed 11/26/18 Page 4 of 6



       16.     The allegations set forth in Paragraph 16 of FYC’s Counter-Complaint are not

directed to Plaintiffs and, therefore, they require no response. To the extent a response is required,

those allegations are denied.

       In response to the unnumbered paragraph in FYC’s Counter-Complaint following

Paragraph 16 and beginning with the word “WHEREFORE”, Plaintiffs deny that Robert and/or

Lennard Luiten bear any liability to FYC. Plaintiffs further deny (a) that FYC suffered any

damages, (b) that FYC is entitled to the relief it seeks, and (c) that FYC is entitled to any relief

whatsoever from Robert Luiten or Lennard Luiten.

                                        THIRD DEFENSE

       The claims set forth in FYC’s Counter-Complaint may be barred in whole or in part by the

applicable statute of limitation and/or the doctrines of estoppel, waiver and laches.

                                       FOURTH DEFENSE

       To the extent Plaintiffs are found to bear any liability to FYC in connection with the 2015

Dauphin Island Race, which Plaintiffs expressly deny, such liability should be apportioned

according to the principles of comparative fault as set forth in Hercules, Inc. v. Stevens Shipping

Co., 765 F.2d 1069 (11th Cir. 1985).

                                        FIFTH DEFENSE

       FYC’s claims for indemnity may be barred if FYC is found to bear any fault in connection

with the damages suffered by Jane Brown.

                                        SIXTH DEFENSE

       As the owner of the subject vessel (i.e., the “RAZR”), Plaintiff Robert Luiten may be

entitled to the protections set forth in the Limitation of Shipowners’ Liability Act, codified at 46

U.S.C. §§ 30501 et seq. and 32 CFR § 536.123.



                                                  4
      Case 1:18-cv-00061-TFM-MU Document 105 Filed 11/26/18 Page 5 of 6



                                      SEVENTH DEFENSE

       Plaintiffs reserve the right to assert additional defenses in the event that discovery indicates

that such defenses are appropriate.

       WHEREFORE, Plaintiffs respectfully request the dismissal of the claims set forth in FYC’s

Counter-Complaint with prejudice. Plaintiffs further request the award of legal costs, including

attorneys’ fees, as well as all other relief which this Court deems just and equitable.

       DATED: November 26, 2018.

                                                       PLAINTIFFS ROBERT AND LENNARD
                                                       LUITEN,

                                               By:     /s/ H. Ruston Comley
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                                                  5
      Case 1:18-cv-00061-TFM-MU Document 105 Filed 11/26/18 Page 6 of 6




                                 CERTIFICATE OF SERVICE


        I do hereby certify that I have served a true and correct copy of the foregoing on all parties
by electronic filing through the CM/ECF filing system.

       Allen E. Graham
       E. Barrett Hails
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       This, the 26th day of November 2018.


                                                       /s/ H. Ruston Comley
                                                       H. Ruston Comley




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